Case 3:20-cv-04423-JD Document 149-3 Filed 06/28/22 Page 1 of 14




                EXHIBIT C
             Case 3:20-cv-04423-JD Document 149-3 Filed 06/28/22 Page 2 of 14




1
2
3
4                                UNITED STATES DISTRICT COURT
5                             NORTHERN DISTRICT OF CALIFORNIA
6                                             )
7    MARIA SCHNEIDER, individually and on )           Case Number: 3:20-cv-04423-JD
     behalf of all others similarly situated; )
8                                             )       PLAINTIFF’S AND COUNTERCLAIM
            Plaintiff,                        )       DEFENDANTS’ SECOND SET OF
9                                             )       REQUESTS FOR THE PRODUCTION OF
            vs.                               )       DOCUMENTS TO DEFENDANTS
10
                                              )       YOUTUBE, LLC AND GOOGLE LLC
11   YOUTUBE, LLC and GOOGLE LLC;             )
                                              )
12          Defendants.                       )
                                              )
13
                                              )
14   YOUTUBE, LLC and GOOGLE LLC;             )
                                              )
15   Counter-Plaintiffs,                      )
     v.                                       )
16
                                              )
17   PIRATE MONITOR LTD., GÁBOR CSUPÓ, )
     and PIRATE MONITOR LLC,                  )
18                                            )
     Counter-Defendants.                      )
19
                                              )
20
21
            Pursuant to Federal Rules of Civil Procedure 26 and 34, Plaintiff Maria Schneider and
22
     Counterclaim Defendants Pirate Monitor Ltd. and Gábor Csupó, by their attorneys Boies Schiller
23
     Flexner LLP and Korein Tillery, LLC, request that Defendants, YouTube, LLC and Google LLC
24
     respond to the following document requests (the “Requests”) within thirty days of service and
25
     produce responsive documents, and afterwards supplement such production as may become
26
     necessary to comply with the requirements of Rule 26(e) of the Federal Rules of Civil Procedure.
27
28

     Plaintiff’s Second Set of RFPs        Page 1 of 13           Case No. 3:20-cv-04423-JD
             Case 3:20-cv-04423-JD Document 149-3 Filed 06/28/22 Page 3 of 14




1                                               DEFINITIONS
2           1.        The words and phrases used in these Requests shall have the meanings ascribed
3    to them under the Federal Rules of Civil Procedure, unless otherwise stated. All definitions
4    herein include both the singular and plural.
5           2.        “And” and “Or” shall be construed either disjunctively or conjunctively as
6    necessary to bring within the scope of the discovery request all responses that might otherwise
7    be construed to be outside of its scope.
8           3.        “Account Monetization Program” means any program by which Users receive
9    compensation on YouTube, Including the YouTube Partner Program.
10          4.        “Answer” means the Defendants’ answer filed on September 21, 2020 and any
11   subsequently filed answer in this Lawsuit.
12          5.        “AutoPlay Feature” means Your system that queues subsequent videos to play
13   sequentially, Including the system described in Paragraph 37 of the Complaint.
14          6.        “Communication” means the transmittal of information (in the form of facts,
15   ideas, inquiries or otherwise).
16          7.        “Complaint” means the complaint filed by Plaintiffs against Defendants on July
17   2, 2020 and any subsequently filed amended complaint in this Lawsuit.
18          8.        “Concerning” means relating to, referring to, describing, evidencing or
19   constituting.
20          9.        “Content ID System” means Your copyright management tool described
21   throughout the Complaint, Including at Paragraphs 2, 8, 9, 10, and 12.
22          10.       “Copyright Management Information” or “CMI” has the meaning it has under 17
23   U.S.C. § 1202.
24          11.       “Copyright Strike” means the strike issued by You to a User following a
25   Takedown Notice.
26          12.       “Counterclaims” means the Amended Counterclaim filed by Defendants on
27   February 19, 2021 and any subsequently filed amended counterclaims in this Lawsuit.
28          13.       “Digital Fingerprinting Technology” means any software or technology which

     Plaintiff’s Second Set of RFPs         Page 2 of 13           Case No. 3:20-cv-04423-JD
               Case 3:20-cv-04423-JD Document 149-3 Filed 06/28/22 Page 4 of 14




1    analyzes a piece of video and/or audio to determine the unique characteristics of the content and
2    create a pattern that is stored in a database and can be used for recognizing the content in the
3    future.
4              14.   “Document” is defined to be synonymous in meaning and equal in scope to the
5    usage of the term “documents or electronically stored information” in Federal Rule of Civil
6    Procedure 34(a)(1)(A) and includes Communications. A draft or non-identical copy is a separate
7    Document within the meaning of this term.
8              15.   “Fair Use” has the meaning it has under 17 U.S.C. § 107.
9              16.   Identify (with respect to persons): When referring to a person, to “identify”
10   means to state the person’s full name, present or last known address, email address, IP address,
11   and, when referring to a natural person, their present or last known place of employment, date of
12   hire, job title, description of their role, and current contact information. If the business and home
13   telephone numbers are known to the answering party, and if the person is not a party or present
14   employee of a party, said telephone numbers shall be provided. Once a person has been identified
15   in accordance with this paragraph, only the name of the person need be listed in response to
16   subsequent discovery requesting the identification of that person.
17             17.   Identify (with respect to Users): When referring to a User, to “identify” means to
18   state the Person’s full name, username, email address, IP address, affiliation, and any other
19   unique identifier used internally by YouTube or Google tied to a User.
20             18.   Identify (with respect to Documents):         When referring to Documents, to
21   “identify” means to state the: (i) type of Document; (ii) general subject matter; (iii) date of the
22   Document; and, (iv) author(s), addressee(s), and recipient(s) or, alternatively, to produce the
23   Document.
24             19.   Identify (with respect to videos): When referring to videos, to “identify” means
25   to state the: (i) title of the video; (ii) the URL at which the video was posted; (iii) the date the
26   video was posted; (iv) the Identity of the user that posted the video; (v) the description included
27   with the video; and (vi) any Tags included with the video.
28             20.   “Including” or “includes” means including without limitation.

     Plaintiff’s Second Set of RFPs          Page 3 of 13             Case No. 3:20-cv-04423-JD
             Case 3:20-cv-04423-JD Document 149-3 Filed 06/28/22 Page 5 of 14




1           21.     “Lawsuit” means the case filed by Plaintiff against Defendants in the United
2    States District Court for the Northern District of California, number 20-cv-04423.
3           22.     “Metadata” means any information attached to, embedded in, or a part of a digital
4    video file that provides information Concerning that file, Including CMI and Tags.
5           23.     “Person” means any natural person or any legal entity, Including, without
6    limitation, any business or governmental entity or association.
7           24.      “Recommended Videos” means all videos that YouTube algorithmically offers
8    up to users on the YouTube platform, Including those displayed on YouTube’s Home page and
9    Suggested videos shown alongside a video that a user is watching.
10          25.     “Repeat Infringer” has the meaning it has under 17 U.S.C. § 512(i).
11          26.     “Response to Counterclaims” means Plaintiff Pirate Monitor’s Rule 12 motion
12   and/or responsive pleading filed in response to Defendants’ Counterclaims.
13          27.     “Schneider” means Plaintiff Maria Schneider and all agents, representatives,
14   accountants, investigators, consultants, attorneys, attorneys-in-fact, advisors, and any other Person
15   acting on her behalf.
16          28.     “Standard Technical Measures” has the meaning it has under 17 U.S.C. § 512(i).
17          29.     “Tags” are descriptive keywords Users add to a video to help viewers find content.
18          30.     “Takedown Notice” means a request submitted via Your online platform, by email,
19   or in any other way that seeks to have content of any kind removed, deleted, or no longer displayed
20   because the content contains copyrighted material that has been posted or is being displayed without
21   a license or permission.
22          31.     “User” means a user of Your YouTube platform.
23          32.     “Viacom and Football Association Litigation” means the cases filed against You
24   by lead plaintiffs The Football Association Premier League Limited and Viacom International,
25   Inc. in the United States District Court for the Southern District of New York, numbers 07-cv-
26   02103 and 07-cv-03582, including any appeals in either case.
27          33.     “Video Match” means a video that is automatically or manually matched to a
28   digital fingerprint through the Content ID System.

     Plaintiff’s Second Set of RFPs          Page 4 of 13             Case No. 3:20-cv-04423-JD
             Case 3:20-cv-04423-JD Document 149-3 Filed 06/28/22 Page 6 of 14




1            34.     The terms “You,” “Your,” and “Yourself” mean Defendants YouTube and
2    Google and all present and former subsidiaries, predecessors, parents, successors, affiliates,
3    segments, divisions, and all present or former owners, officers, directors, managers, limited partners,
4    general partners, agents, representatives, accountants, investigators, consultants, attorneys,
5    attorneys-in-fact, predecessors or successors in interest, employees, trustees, advisors, and any other
6    Person acting on its behalf.
7            35.     “YouTube Partner Program” means the program launched in 2007 that uses
8    AdSense to monetize content posted by Users.
9            36.     “YouTube Search” means on the search engine on the YouTube platform.
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

     Plaintiff’s Second Set of RFPs           Page 5 of 13             Case No. 3:20-cv-04423-JD
             Case 3:20-cv-04423-JD Document 149-3 Filed 06/28/22 Page 7 of 14




1                                              INSTRUCTIONS
2           1.         These Instructions incorporate by reference any instructions set forth in the Local
3    Rules of the United States District Court of the Northern District of California and the Federal Rules
4    of Civil Procedure and the instructions contained in the Standing Order for Discovery in Civil Cases
5    before Judge Donato.
6           2.         The Documents covered by these requests include all Documents in Your
7    possession, custody, or control.
8           3.         Each Request shall be construed independently, and no Request shall be viewed
9    as limiting the scope of any other Request.
10          4.         You shall produce all Documents in the manner in which they are maintained in
11   the usual course of Your business and/or You shall organize and label the Documents to
12   correspond to the categories of the Requests. A request for a Document shall be deemed to
13   include a request for any and all file folders within which the Document was contained,
14   transmittal sheets, cover letters, exhibits, attachments, or enclosures to the Document in addition
15   to the Document itself.
16          5.         The fact that a Document is produced by another party does not relieve You of the
17   obligation to produce Your copy of the same Document, even if the two Documents are identical.
18          6.         If any responsive Document was, but is no longer in Your possession or subject
19   to Your control, state whether it is (a) missing or lost; (b) destroyed; (c) otherwise disposed of;
20   or (d) transferred voluntarily or involuntarily to others, and identify the name and address of its
21   current or last known custodian, and the circumstances surrounding such disposition.
22          7.         The obligation to respond to these Requests is continuing pursuant to Rule 26(e)
23   of the Federal Rules of Civil Procedure. If at any time after responding to these Requests You
24   discover additional responsive Documents that will make Your responses to these Requests more
25   complete or correct, amend Your responses and produce such responsive Documents as soon as
26   reasonably possible.
27          8.         Unless otherwise specified, these Requests seek Documents from January 1, 2015
28   to the present.

     Plaintiff’s Second Set of RFPs            Page 6 of 13            Case No. 3:20-cv-04423-JD
             Case 3:20-cv-04423-JD Document 149-3 Filed 06/28/22 Page 8 of 14




1                                  REQUESTS FOR PRODUCTION
2    REQUEST NO. 78
3           Documents sufficient to Identify or production of one or more databases or their contents
4    containing the following: all videos posted to the YouTube platform that have been identified as
5    “Video Matches,” the work used to create the ID File that matched to the video, the owner of the
6    work used to create the ID File, the Content ID Participant that submitted the work, the user that
7    posted each video, the channel where such video was posted, and whether each video was blocked,
8    monetized or tracked.
9    REQUEST NO. 79
10          Documents sufficient to show every part of the Content ID System’s user experience,
11   including the pages or screens that show the processes for applying for access to the Content ID
12   System, uploading copyrighted works as Reference Files, reviewing Video Matches and
13   applying Policies, including Monetizing, Blocking, or Tracking Video Matches, manually
14   submitting Content ID claims, and managing Disputes, as well as Documents sufficient to show
15   how each page or screen of the Content ID System’s user experience interacts with each other
16   page or screen.
17   REQUEST NO. 80
18          Documents sufficient to show all standard or template communications with Content ID
19   Participants.
20   REQUEST NO. 81
21          All Documents Concerning your accommodation, failure to accommodate, interference,
22   or non-interference with Digital Fingerprinting Technology other than Content ID.
23   REQUEST NO. 82
24          All Documents Concerning Your evaluation of whether any technology or technical
25   measure constitutes a Standard Technical Measure. The time period for this Request is from
26   January 1, 2005 to the present.
27
28

     Plaintiff’s Second Set of RFPs        Page 7 of 13            Case No. 3:20-cv-04423-JD
                Case 3:20-cv-04423-JD Document 149-3 Filed 06/28/22 Page 9 of 14




1    REQUEST NO. 83
2              All Documents Concerning the terms on which Digital Fingerprinting Technology other
3    than Content ID is available on the YouTube platform to users or copyright holders or any other
4    Person.
5    REQUEST NO. 84
6              All Documents Concerning the costs or burdens Digital Fingerprinting Technology other
7    than Content ID impose on You, Your systems, or Your networks.
8    REQUEST NO. 85
9              Documents sufficient to show the policies and procedures applicable to the Checks tool.
10   REQUEST NO. 86
11             Documents sufficient to show the process used by the Checks tool to determine if an
12   uploaded video is subject to a Copyright or Ad Suitability alert.
13   REQUEST NO. 87
14             All Documents and Communications Concerning the decisions to have the Checks tool
15   consider Content ID Matches and not to have the Checks tool consider other potential claims of
16   copyright infringement, including infringements Concerning Takedown Notices.
17   REQUEST NO. 88
18             All Documents and Communications Concerning the number or proportion of videos
19   posted to the YouTube platform that infringe on copyrights and the revenues You received that
20   are attributable to such videos. The time period for this Request is from January 1, 2005 to the
21   present.
22   REQUEST NO. 89
23             All Documents Concerning Your claim that “the video uploading activity conducted
24   through Ransom Nova accounts was not consistent with the behavior of users actually seeking to
25   share videos with others through the YouTube service,” as stated in Paragraph 49 of the
26   Counterclaims.
27
28

     Plaintiff’s Second Set of RFPs          Page 8 of 13           Case No. 3:20-cv-04423-JD
            Case 3:20-cv-04423-JD Document 149-3 Filed 06/28/22 Page 10 of 14




1    REQUEST NO. 90
2           All Documents Concerning “YouTube’s investigation” described in Paragraph 52 of the
3    Counterclaims.
4    REQUEST NO. 91
5           All exhibits and any other evidence, demonstrative or otherwise, to be used in support of
6    any motion, in opposition to any motion, or at any hearing or trial in this Lawsuit.
7    REQUEST NO. 92
8           All Documents identified in your answers to, or utilized in answering, Plaintiffs’ First
9    Interrogatories Directed to Defendants, and any future set of interrogatories that any Plaintiff or
10   Counterclaim Defendant subsequently serves on Defendants.
11   REQUEST NO. 93
12          All Documents not otherwise provided in response to these Requests (or any other set of
13   Requests propounded by Plaintiff or Counterclaim Defendants) and relied upon by Defendants in
14   drafting the Answer or the Counterclaims.
15   REQUEST NO. 94
16          All Documents Concerning the existence of CMI in Metadata associated with videos
17   uploaded by users to YouTube. The time period for this Request is from January 1, 2005 to the
18   present.
19   REQUEST NO. 95
20          All Documents Concerning the duties imposed by Section 1202 of the DMCA, 17 U.S.C.
21   §1202, on YouTube. The time period for this Request is from January 1, 2005 to the present.
22   REQUEST NO. 96
23          All Documents Concerning Your knowledge that CMI had been removed from copyright
24   protected works that were copied, contained, and or incorporated, in whole or in part, in videos
25   uploaded by users to YouTube. The time period for this Request is from January 1, 2005 to the
26   present.
27
28

     Plaintiff’s Second Set of RFPs         Page 9 of 13            Case No. 3:20-cv-04423-JD
            Case 3:20-cv-04423-JD Document 149-3 Filed 06/28/22 Page 11 of 14




1    REQUEST NO. 97
2           Documents sufficient to show all costs, expenses, and fees incurred to address a typical
3    Takedown Notice submitted to YouTube.
4    REQUEST NO. 98
5           All Documents Concerning Communications between You and providers of Digital
6    Fingerprinting Technology regarding their application or provision of such technology on the
7    YouTube platform.
8    REQUEST NO. 99
9           All Documents Concerning YouTube’s use of Metadata CMI in connection with its
10   administration of Content ID.
11   REQUEST NO. 100
12          All Documents Concerning YouTube’s capacity to detect Metadata CMI in connection with
13   assets submitted pursuant to the Content ID program.
14   REQUEST NO. 101
15          All Documents Concerning Your consideration of the use of Metadata CMI in connection
16   with any of the copyright management tools You use, or have considered using, in connection with
17   the YouTube platform. The time period for this Request is from January 1, 2005 to the present.
18   REQUEST NO. 102
19          All Documents Concerning Recommended Videos, Including:
20              a) The policies and procedures that apply to Recommended Videos, including changes
21                 and proposed changes to the policies and procedures and the reasons for those
22                 changes;
23              b) The process for selecting videos as Recommended Videos;
24              c) Your ability to control the selection of videos as Recommended Videos;
25              d) Your revenues attributable to videos selected as Recommended Videos;
26              e) Videos that infringe on copyrights that are selected as Recommended Videos; and
27              f) The impact on Recommended Videos of any of Your copyright management tools,
28                 including Content ID and Takedown Notices.

     Plaintiff’s Second Set of RFPs       Page 10 of 13           Case No. 3:20-cv-04423-JD
            Case 3:20-cv-04423-JD Document 149-3 Filed 06/28/22 Page 12 of 14




1    REQUEST NO. 103
2           All Documents Concerning YouTube Search, Including:
3               a) The policies and procedures that apply to YouTube Search, including changes and
4                  proposed changes to the policies and procedures and the reasons for those changes;
5               b) The process for selecting the videos shown in YouTube Search;
6               c) Your ability to control the selection of videos shown in YouTube Search;
7               d) Your revenues attributable to videos shown in YouTube Search;
8               e) Videos that infringe on copyrights that are shown in YouTube Search; and
9               f) The impact on YouTube Search of any of Your copyright management tools,
10                 including Content ID and Takedown Notices.
11   REQUEST NO. 104
12          Unredacted copies of all Documents filed in the Viacom and Football Association
13   Litigation and Documents sufficient to show the terms of all agreements to settle in whole or in
14   part any claim of any kind in the Viacom and Football Association Litigation.
15   REQUEST NO. 105
16          All Documents produced by You in the Viacom and Football Association Litigation.
17
18   DATED:        New York, New York
19                 May 12, 2021
20                                        By:             /s/ Joshua Irwin Schiller_____
21                                                        George A. Zelcs (pro hac vice)
22                                                        Randall P. Ewing, Jr. (pro hac vice)
                                                          Ryan Z. Cortazar (pro hac vice)
23                                                        KOREIN TILLERY, LLC
                                                          205 North Michigan, Suite 1950
24                                                        Chicago, IL 60601
25                                                        Telephone: (312) 641-9750
                                                          Facsimile: (312) 641-9751
26
                                                          Stephen M. Tillery (pro hac vice)
27                                                        Steven M. Berezney, CA Bar #329923
28                                                        Michael E. Klenov, CA Bar #277028


     Plaintiff’s Second Set of RFPs       Page 11 of 13            Case No. 3:20-cv-04423-JD
            Case 3:20-cv-04423-JD Document 149-3 Filed 06/28/22 Page 13 of 14




                                                      Carol O’Keefe (pro hac vice)
1
                                                      KOREIN TILLERY, LLC
2                                                     505 North 7th Street, Suite 3600
                                                      St. Louis, MO 63101
3                                                     Telephone: (314) 241-4844
                                                      Facsimile: (314) 241-3525
4
5                                                     Joshua Irwin Schiller, CA Bar #330653
                                                      BOIES SCHILLER FLEXNER LLP
6                                                     44 Montgomery St., 41st Floor
                                                      San Francisco, CA 94104
7
                                                      Phone: (415) 293-6800
8                                                     Fax: (415) 293-6899

9                                                     Philip C. Korologos (pro hac vice)
                                                      Joanna C. Wright (pro hac vice)
10
                                                      BOIES SCHILLER FLEXNER LLP
11                                                    55 Hudson Yards, 20th Floor
                                                      New York, NY 10001
12                                                    Phone: (212) 446-2300
                                                      Fax: (212) 446-2350
13
14                                                    Attorneys for Plaintiff Maria Schneider and
                                                      Counterclaim Defendants Pirate Monitor
15                                                    LTD. and Gábor Csupó
16
17
18
19
20
21
22
23
24
25
26
27
28

     Plaintiff’s Second Set of RFPs   Page 12 of 13            Case No. 3:20-cv-04423-JD
            Case 3:20-cv-04423-JD Document 149-3 Filed 06/28/22 Page 14 of 14




                                      CERTIFICATE OF SERVICE
1
2           I hereby certify that the following counsel of record were served by email on

3    May 12, 2021:
4
5                        DAVID H. KRAMER
                         dkramer@wsgr.com
6                        MAURA L. REES
7                        mrees@wsgr.com
                         LAUREN GALLO WHITE
8                        lwhite@wsgr.com
                         WILSON SONSINI GOODRICH & ROSATI
9                        Professional Corporation
                         650 Page Mill Road
10                       Palo Alto, CA 94304-1050
                         Telephone: (650) 493-9300
11                       Facsimile: (650) 565-5100

12                       Attorneys for Defendants and Counterclaimants
                         YOUTUBE, LLC and GOOGLE LLC
13
14
                                                         /s/ Demetri Blaisdell_______
15
                                                                Demetri Blaisdell
16
17
18
19
20
21
22
23
24
25
26
27
28

     Plaintiff’s Second Set of RFPs      Page 13 of 13           Case No. 3:20-cv-04423-JD
